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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                               01/12/2021

 FRANKIE MONEGO,


                                                Plaintiff,                    ORDER ADJOURNING TELEPHONE
                                                                              CONFERENCE
                             -against-
                                                                              20-CV-7673 (VSB)


  TICKNORS MEN’S CLOTHIER,

                                                 Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         In light of the Notice of Settlement filed on January 11, 2021 (doc. no 19) the Pre-

Settlement Telephone Conference currently scheduled for January 26, 2021 is hereby

adjourned sine die.

         SO ORDERED.

Dated: January 12, 2021
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
